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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    CHARLES WASHINGTON,                                                 CIVIL ACTION

          Plaintiff,
                                                                        NO. 21-335-KSM
          v.

    MORRISON HEALTHCARE, INC.

          Defendants.



                                                     ORDER

         AND NOW, this 11th day of March, 2021, the parties having informed the Court that they

have settled this matter; accordingly, it is hereby ORDERED as follows:

         1.       This action is DISMISSED WITH PREJUDICE pursuant to agreement of

counsel without costs pursuant to Rule 41.1(b) of the Local Rules of Civil Procedure of this Court.1

The Court shall retain jurisdiction for a period of ninety (90) days while the parties memorialize

their settlement agreement; and

         2.       The clerk of court shall mark this matter as CLOSED.


                                                               BY THE COURT:

                                                               /s/ KAREN SPENCER MARSTON
                                                               ______________________________
                                                               KAREN SPENCER MARSTON, J.




1
 Rule 41.1(b) provides that any dismissal order entered “may be vacated, modified, or stricken from the record, for
cause shown, upon the application of any party served within ninety (90) days of the entry of such order of dismissal,
provided the application of the ninety-day time limitation is consistent with Federal Rule of Civil Procedure 60(c).”
E.D. Pa. Loc. Civ. R. 41.1(b).
